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                    EXHIBIT K
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 1   document that in the computer.                                    1      A     Um-hum, yes.
 2       Q    All right. So you might take notes while                 2           I would say that the majority of the notes
 3   you're meeting with a patient?                                    3   get done immediately because the medical assistant is
 4       A    (Indicating.)                                            4   writing down in the, oh, the HPI section why they're
 5       Q    And then when do you enter it into a                     5   there. And the assessments, I do everything
 6   computer?                                                         6   electronic. I put all the orders in. I put all the
 7       A    I'd say the majority of the time it's                    7   labs in, medications, and I make sure that the
 8   either right after if I can, if I have time, or at                8   assessment plan is laid out that -- that day so that
 9   lunch if I can. If it's at the end of the day, it                 9   if I do get behind, I have to do it later or a couple
10   would probably be the next morning. I'd show up at               10   days later on the weekend.
11   least an hour early to do the afternoon notes in the             11           Basically it's just clicking a button, but
12   morning, the following morning. But there are                    12   all of the pertinent information is already filled
13   occasions where I catch up a good day or two later on            13   out in the assessment plan.
14   the weekends.                                                    14      Q     Okay.
15       Q    It doesn't sound like you're a person who               15      A     So it's mostly done. I would say if
16   dictates?                                                        16   they're not done, they're 70 percent complete and I
17       A    No, I don't dictate.                                    17   just -- there's a lot of radial buttons for us to
18       Q    So you, yourself, are the one who enters                18   click to complete the medical record.
19   it --                                                            19      Q     Okay. And I presume during the course of
20       A    Yeah.                                                   20   your work as a resident and then at Saint Thomas
21       Q    -- into a computer?                                     21   More, you strive to keep accurate records in your
22       A    Yes.                                                    22   practice?
23       Q    And do you make a notation when you enter               23      A     Yes.
24   it into the computer as to the time you entered it               24      Q     You've been trained to do that?
25   relative to the time the information was taken?                  25      A     Yes.

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 1       A    No.                                                      1      Q     All right. Do you know how you came to be
 2       Q    So, for example, in old school medical                   2   the doctor for Virginia Giuffre?
 3   records where it might say dictated on a later date,              3       A    No. I -- she would have filled out a new
 4   your system doesn't reflect that?                                 4   patient packet and showed up for a new patient
 5       A    I have to go in -- there might be a thing                5   appointment for a particular reason. I reviewed it.
 6   that says when it was signed.                                     6   It was essentially getting refill of medications and,
 7       Q    So there was a provision for an electronic               7   you know, to address her problems.
 8   signature?                                                        8      Q     Do you know where that new patient packet
 9       A    Yeah, I mean, I electronically sign all                  9   is now?
10   the notes. So that might say the time. I guess I                 10       A    It's going to be scanned in the computer.
11   look at it.                                                      11   If you don't have it, I brought my computer. I can
12       Q    And what is the purpose in your mind of                 12   probably scan it and print it out or just print it
13   keeping good records of your patient visits?                     13   out.
14       A    One, so that I or somebody else can see                 14      Q     Is that among the documents that you have
15   what happened at the visit to see what happened and              15   next to you?
16   get an idea of what happened in the past and what to             16       A    The new patient packet isn't here, but I
17   do going forward.                                                17   have it -- I should have it on my computer. I could
18       Q    Fair to say it's important for purposes of              18   probably log in and print it, to be honest. It
19   future treatment of that patient, correct?                       19   wouldn't be that hard. I assumed that the hospital
20       A    Yes.                                                    20   is taking care of all the documentation that was
21       Q    For example, medications need to be well                21   requested. So I didn't actually bring it.
22   documented?                                                      22      Q     I understand.
23       A    Yes.                                                    23       A    I actually have it, happen to have it with
24       Q    And complaints of symptoms would be                     24   me.
25   documented?                                                      25      Q     All right. Why don't we -- we can

                                                         STEVEN W OLSON 5/26/2016                                               9 (33 - 36)
